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UNITED STATES DISTRICT COURT                                   ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                  DOC#: ______------­
-----------------------------------------------------------x   DATE FILED: 10 - JJ... - J 0
UNITED STATES OF AMERICA,

                                                                  00 CR 121 (PKC)

                 -against-
                                                                       ORDER

JULIO NUNEZ,

                                   Defendant
-----------------------------------------------------------x
P. KEVIN CASTEL, U.S.DJ.

                  I have reviewed the parties' submissions on the defendant's Motion for Discharge

Pursuant to 18 U.S.c. § 4246. The parties are invited to submit letter briefs supplementing the

arguments set forth in their motion papers. Specifically, they are invited to address in greater

detail whether the United States Constitution requires a criminal defendant to be competent in

order to be sentenced, whether an order of "commitment constituting a provisional sentence of

imprisonment" under 18 U.S.C. § 4244(d) is a criminal sentence, and whether defendant Julio

Nunez, in view of the Bureau of Prisons Report dated August 23,2004, was competent at the

time that he received his provisional sentence. See,~, Nicks v. United States, 874 F. Supp.

591,601 (S.D.N.Y. 1995) (applying section 4244 as a competency statute); United States v.

Wolfson, 616 F. Supp. 2d 398, 420-22 (S.D.N.Y. 2008) (same). To what extent is 18 U.s.C. §

4244 limited to instances in which a defendant is competent yet "suffers from a mental disease or

defect"? The parties should also set forth in greater detail their views as to the proper remedy if

the Court were to conclude that the defendant was not competent at the time of the provisional

sentencing.

                  The parties may submit their letter briefs by November 8, 2010. Any responses
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should be submitted by November 22. I will hear argument on the pending motion on December

17,2010at 11:30 a.m.


      SO ORDERED.



                                                            P. Kevin Castel
                                                      United States District Judge
Dated: New York, New York
       October 12, 2010
